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14
                                UNITED STATES DISTRICT COURT
15

16                           NORTHERN DISTRICT OF CALIFORNIA

17                                      OAKLAND DIVISION

18
      EPIC GAMES, INC.,                              Case No. 4:20-CV-05640-YGR-TSH
19
                    Plaintiff, Counter-defendant,    DECLARATION OF MICHAEL J. ZAKEN
20                                                   IN SUPPORT OF EPIC GAMES, INC.’S
                           v.                        MOTION TO SHORTEN TIME
21
      APPLE INC.,
22
                                                     Judge: Hon. Yvonne Gonzalez Rogers
23                  Defendant, Counterclaimant.

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     DECLARATION OF MICHAEL J. ZAKEN                           CASE NO. 4:20-CV-05640-YGR-TSH
      Case 4:20-cv-05640-YGR            Document 1566-1         Filed 05/16/25      Page 2 of 4




1             I, Michael J. Zaken, declare as follows:

2             1.     I am a Partner at Cravath, Swaine & Moore LLP, counsel to Epic Games, Inc.

3    (“Epic”) in the above-captioned actions. I am admitted to appear before this Court pro hac vice.

4             2.     I submit this declaration in support of Epic’s Motion to Shorten a Party’s Time to

5    Respond Pursuant to Local Rule 6-3 (“Motion to Shorten”), dated May 16, 2025.

6             3.     I have personal, first-hand knowledge of the facts set forth in this Declaration. If

7    called as a witness, I could and would competently testify to these facts under oath.

8             4.     Concurrently with its Motion to Shorten, Epic also filed with the Court a Motion to

9    Enforce the Injunction (“Motion to Enforce”).

10            5.     The Local Rules provide Apple with fourteen (14) days to respond to that motion.

11            6.     On May 15, 2025, Apple indicated via letter correspondence that it would not

12   make any determination in Epic’s May 14, 2025 submission of its Fortnite app until the Ninth

13   Circuit makes a ruling on Apple’s pending motion for a partial stay of this Court’s April 30

14   Order.

15            7.     As a result, Fortnite remains unavailable on the U.S. App Store.

16            8.     Epic moves for an expedited briefing schedule because, in its view, Apple’s refusal

17   to consider Epic’s May 14, 2025, submission of its Fortnite app is in violation of this Court’s

18   Injunction.
19            9.     On May 16, 2025, Epic indicated via email correspondence to Apple that it would

20   be filing its Motion to Enforce as well as its Motion to Shorten, and asked whether Apple would

21   stipulate to the expedited briefing schedule. Apple responded that it did not object to the

22   expedited briefing schedule.

23            10.    Epic therefore seeks an order pursuant to Local Rule 6-3 to shorten the time for

24   Apple to respond to May 21, 2025; for Epic to reply to May 23, 2025; and for a hearing date to be

25   set to May 27, 2025.

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     DECLARATION OF MICHAEL J. ZAKEN                     1         CASE NO. 4:20-CV-05640-YGR-TSH
      Case 4:20-cv-05640-YGR          Document 1566-1         Filed 05/16/25     Page 3 of 4




1           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

2    and correct and that I executed this declaration on May 16, 2025 in New York, New York.

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4                                                         /s/ Michael J. Zaken
                                                          Michael J. Zaken
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     DECLARATION OF MICHAEL J. ZAKEN                 2           CASE NO. 4:20-CV-05640-YGR-TSH
      Case 4:20-cv-05640-YGR          Document 1566-1         Filed 05/16/25     Page 4 of 4




1                                      E-FILING ATTESTATION

2                   I, Gary A. Bornstein, am the ECF User whose ID and password are being used to

3    file this Declaration of Michael J. Zaken in Support of Epic’s Motion to Shorten a Party’s Time to

4    Respond Pursuant to Local Rule 6-3. In compliance with Civil Local Rule 5-1(i), I hereby attest

5    that concurrence in the filing of this document has been obtained from the signatory.

6

7                                                        /s/ Gary A. Bornstein
                                                         Gary A. Bornstein
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     DECLARATION OF MICHAEL J. ZAKEN                 3           CASE NO. 4:20-CV-05640-YGR-TSH
